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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


 Case No. 1:21-cv-03043-RM-STV

 SHELLEY LEVINE, et al.,

                               Plaintiffs,

 v.

 THE PALESTINE LIBERATION ORGANIZATION
 and THE PALESTINIAN AUTHORITY (a/k/a “The
 Palestinian Interim Self-Government Authority” and/or
 “The Palestinian
 National Authority”),

                               Defendants.

  UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO MO-
   TION TO DISMISS AND JOINT MOTION TO ADJOURN SCHEDULING
                          CONFERENCE


       Pursuant to COLO.LCivR 7.1 and for good cause, Plaintiffs respectfully move

 for a 60-day extension of time within which to respond to the Defendants’ Motion to

 Dismiss, either by opposing the Motion or by filing an Amended Complaint. Pursuant

 to COLO.LCivR 7.1(a), counsel for Plaintiffs and Defendants have conferred regard-

 ing this Motion, and Defendants do not oppose the extension requested.

       Additionally, if the extension is granted, the Parties jointly move to adjourn

 the scheduling conference with Magistrate Judge Varholak currently set for March

 29, 2022, with a new date for the conference to be set following the submission by the

 Parties of a status report.

       In support of this motion, Plaintiffs respectfully state as follows:
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       1.      This action was filed on November 11, 2021.

       2.      On November 15, 2021, Magistrate Judge Varholak entered an order

 setting the Court’s scheduling conference for January 19, 2022.

       3.      On November 22, 2021, Plaintiffs filed a waiver of service executed by

 Defendants, pursuant to which Defendants were required to respond to the Com-

 plaint by February 21, 2022. (DE 15).

       4.      In early discussions between the Parties, the Defendants indicated that

 they would file a Rule 12(b) motion seeking dismissal of this action for lack of personal

 jurisdiction, among other grounds.

       5.      In those discussions the parties also reached an agreement under which

 Defendants would produce to the Plaintiffs documents potentially relevant to Defend-

 ants’ challenge to personal jurisdiction. The Parties agreed on the terms of a protec-

 tive order enabling the Parties to designate certain documents as confidential.

       6.      The Parties jointly moved to adjourn the scheduling conference until a

 date after March 21, 2022 (DE 21), to enable them to defer their Fed. R. Civ. P. 26(f)

 conference until after the Defendants were to file their Motion to Dismiss and until

 after the Plaintiffs were to receive the agreed-upon document production from the

 Defendants.

       7.      The Parties also submitted to the Court their proposed protective order.

 DE 23.

       8.      On January 3, 2022, the Court granted the Parties’ joint motion to ad-

 journ the scheduling conference, and reset the conference for March 29, 2022. DE 25.




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       9.     Also on January 3, 2022, the Court entered the Protective Order. DE 27.

       10.    Pursuant to the Parties’ agreement, Defendants have produced to Plain-

 tiffs’ counsel certain documents, which the Plaintiffs are reviewing.

       11.    On February 21, 2022, the Defendants filed their Motion to Dismiss. DE

 30.

       12.    The Defendants’ Motion to Dismiss challenges, among other things, the

 constitutionality of the Promoting Security and Justice for Victims of Terrorism Act

 (“PSJVTA”), 18 U.S.C. § 2334(e), which the Plaintiffs cite as a basis for this Court’s

 exercise of personal jurisdiction over the Defendants. Specifically, Defendants assert

 that the PSJVTA violates the due process clause and constitutional separation of

 powers. See Motion to Dismiss, DE 30.

       13.    The Motion to Dismiss also asserts that the Plaintiffs failed to ade-

 quately plead the elements of each of the Complaint’s six causes of action. Id.

       14.    Citing the “complexity or numerosity” of the arguments raised in their

 Motion to Dismiss, including “important constitutional issues,” the Defendants

 moved for, and the Court granted, leave to exceed the page limit for their Motion

 Dismiss prescribed under Local Rule 7.1. DE 28, 29.

       15.    For essentially the same reasons, i.e., the importance of the constitu-

 tional issues and the multiplicity of arguments made by the Defendants, the Plain-

 tiffs require additional time to decide whether to oppose the Motion to Dismiss or to

 file an amended complaint and to prepare their opposition papers or amended com-

 plaint. Additionally and relatedly, the Plaintiffs need additional time to review the




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 documents produced by the Defendants for relevance and completeness, and to incor-

 porate the contents of Defendants’ production into their opposition papers or

 amended complaint, as appropriate.

       16.    Under Fed. R. Civ. P. 15(a)(1) and Local Civil Rule 7.1(d), the present

 deadline for the Plaintiffs to either oppose the Motion to Dismiss or to file an amended

 complaint by right is March 14, 2022. For the reason above, the Plaintiffs respectfully

 request a 60-day extension of time to either oppose the Motion to Dismiss or amend

 the complaint by right, until May 13, 2022.

       17.    Plaintiffs also note that Defendants had a period of 90 days within with

 to prepare their Motion to Dismiss.

       18.    Defendants do not oppose the requested extension of time. Moreover, if

 the Court grants Plaintiffs’ requested extension, then the Parties jointly propose that,

 in the interest of efficiency and to conserve judicial and party resources, the Court

 should adjourn the scheduling conference currently set for March 29, 2022, and that

 the parties should file a status report not later than May 11, 2022, to advise the Court

 of their position(s) in respect to the timing of a rescheduled conference, in light of

 whether Plaintiffs decide to oppose Defendants’ Motion to Dismiss, or instead to

 amend the complaint.

       19.    Plaintiffs also note that on February 28, 2022, Defendants filed a notice

 of constitutional challenge to the PSJVTA pursuant to Fed. R. Civ. P. 5.1 (DE 31),

 and on the same day the Court certified the constitutional challenge to the Attorney

 General of the United States and granted leave to the United States “to intervene in




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 this action for argument on the constitutional question and, if evidence is otherwise

 admissible in the case, for presentation of evidence” on or before April 29, 2022. (DE

 32 at 2).

         20.     In other cases in which these Defendants have asserted a constitutional

 challenge to the PSJVTA, the United States has consistently intervened to file briefs

 supporting the constitutionality of the statute.1

         21.     Thus, because in any event, the United States is likely to intervene and

 to file a brief in this action defending the constitutionality of the PSJVTA on or by

 the April 29, 2022 deadline set by the Court, the enlargement sought by the Plaintiffs

 will not affect other Court deadlines or otherwise delay this action.

         For the foregoing reasons, the Plaintiffs respectfully request that the Court

 grant this Motion.


 Respectfully Submitted,
                                                 s/ Daniel K. Calisher
                                                 Daniel K. Calisher
                                                 Foster Graham Milstein & Calisher, LLP
                                                 360 South Garfield Street, 6th Floor
                                                 Denver, Colorado 80209
                                                 Telephone: 303-333-9810
                                                 Email: calisher@fostergraham.com
                                                 Attorneys for Plaintiff



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  See Memorandum of Law in Support of the Government’s Intervention in Defense of the Promoting Se-
 curity and Justice for Victims of Terrorism Act of 2019 (Oct. 25, 2021) in Shatsky v. PLO, 18-civ-12355
 (MKV) (SDNY), at DE 141; Memorandum of Law in Support of the Government’s Intervention in Defense
 of the Promoting Security and Justice for Victims of Terrorism Act of 2019 (July 23, 2021) in Fuld v. PLO,
 20-civ-3374 (JMF) (SDNY), at DE 53; and Memorandum of Law in Support of the Government’s Inter-
 vention in Defense of the Promoting Security and Justice for Victims of Terrorism Act of 2019 (Sept. 7,
 2021), in Sokolow v. PLO, 04-civ-397 (GBD) (SDNY), at DE 1043.



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                                    s/ Jordan Factor
                                    Jordan Factor
                                    Allen Vellon Wolf Helfrich & Factor, P.C.
                                    1600 Stout Street, Suite 1900
                                    Denver, Colorado 80202
                                    Telephone: 303-534-4499
                                    Email: jfactor@allen-vellone.com
                                    Attorneys for Plaintiff



                                    s/ Asher Perlin
                                    Asher Perlin, Esq.
                                    4600 Sheridan Street, Suite 303
                                    Hollywood, Florida 33021
                                    Telephone: 786-233-7164
                                    Email: asher@asherperlin.com
                                    Attorneys for Plaintiff




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